       Case 1:24-cv-01741-KCD         Document 17        Filed 11/13/24     Page 1 of 2




             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                               CONSOLIDATED
___________________________________
                                    )
TRAILBOSS ENTERPRISES, INC.,        )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )  No. 24-1816
                                    )
THE UNITED STATES,                  )  Filed: November 13, 2024
                                    )
                  Defendant,        )
                                    )
and                                 )
                                    )
ACUITY INTERNATIONAL, LLC,          )
                                    )
                  Defendant-        )
                  Intervenor.       )
___________________________________ )
                                    )
MVM, INC.,                          )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )  No. 24-1741
                                    )
THE UNITED STATES,                  )  Filed: November 13, 2024
                                    )
                  Defendant,        )
                                    )
and                                 )
                                    )
ACUITY INTERNATIONAL, LLC,          )
                                    )
                  Defendant-        )
                  Intervenor.       )
___________________________________ )

                                           ORDER

       On November 12, 2024, the Court held an initial status conference in the above-captioned

directly related bid protests to discuss pending motions and a proposal for further proceedings.
       Case 1:24-cv-01741-KCD           Document 17        Filed 11/13/24      Page 2 of 2




Consistent with the discussion at the conference, the parties shall file a Joint Status Report by no

later than November 27, 2024, providing an update on their discussions regarding the

Government’s proposed amendments to the solicitation and the parties’ positions on further

proceedings in these cases.

       The Court further ORDERS that Acuity International, LLC’s Unopposed Motions to

Intervene in these bid protests are GRANTED. See MVM, Inc. v. United States, No. 24-1741

(Oct. 29, 2024), ECF No. 11; Trailboss Enterprises, Inc. v. United States, No. 24-1816 (Nov. 6,

2024), ECF No. 10.

       Finally, upon review, the Court finds that the factual and legal commonalities of these cases

justify their consolidation under Rule 42 of the Rules of the United States Court of Federal Claims.

Accordingly, the Clerk is directed to consolidate the cases. All future filings shall be made in the

lead case of Trailboss Enterprises, Inc. v. United States, No. 24-1816.

       SO ORDERED.



Dated: November 13, 2024                                     /s/ Kathryn C. Davis
                                                             KATHRYN C. DAVIS
                                                             Judge




                                                 2
